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2017Cl16766

CAUSE N{).

 

ANTH()NY K()CH
Pluim!ff,
VS.

CENTRAL MUTUAL lNSURANCE
COMPANY

DCHMQUWW?W§MCM:.O'JM

Defemlam.

m F_. w _______-rv
i’MINTlFF’S ORIGINAL PETITION

 

'I`O THE HON()RABLE .}UDGE OF SAID COURT:
COMES NOW PLAlNTIFF AN'i`HON"( KOCH (“Piaicitift"), and files his Originai

Peliii<)n, complaining OF CENTRAL MUTUAL ]NSUR)\NCE COMPANY (“CEN'!`RA!," or

“Dci`cn<iam”), and alleges and siaiies us foiiows:

A. DISCOVERY CONTR{)L PLAN

 
 
   

C!TBYCML W/JD SAC1

iN THE [)ISTR!CT COUR']`

ZBBTH

___'l`lI JUDICIAL I)ISTRICT

BF.XAR C()UNTY, TEXAS

 

___r“____~_-¢“'-

 

 

i. Piaintii`l’ intends for discovery iii this action to be conducted under l,evei 2, in

accordance with 'l`cx. R. Civ. P. i‘)0.3.

B. PARTIES

2. Plaintifi`, ANTHONY KOCi-i (“Piaintit`i"}, is an individimi owning a rcsidcniiai

property in Bc.\'ar Couniy st 21 i¢i Mannix Di'ive, San Antonio, 'i`exas 7321'7.

3. Dcf`cnd£\m, CBN'I`RAL MUTUAL iNSURANCE COMPANY ("CEN'I`RAL,”), is

a foreign insurance carrier organized and existing under the laws Ohio and authorized to conduct

insurance business in Texas, may he served with process by serving its designated agent Foi‘

service of process, Corporaie Crcatii)iis Network, iiic.,

South, Suitc 200, ifioustoii, 'i`exas 77027.

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in Harris Coimty at 2425 Wcst hosp

 

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C. JURISDICTION

¢t. 'i`his Cottrt has subject-matter jurisdiction over the lawsuit because the amount in
controversy exceeds this Court’s minimum jurisdictional requirements

5. ”i`his Court has jurisdiction over Dcfendant tCEi~t'l"i~t,¢\iJ because this Dei`endanr
purposeliiliy availed itself ot` the privilege of conducting business in the State of Tc,~tas and
established minimum contacts sutticient to confer jurisdiction over this Dcl`endant, and the
assumption ot` jurisdiction over CENTRAL will not offend traditionai notions ot` t`air play and
substantial justice and is consistent with constitutional requirements oi` due process.

6. Piaintit`t` would show that Defendant CENTRAL had Continuous and systematic
contacts with the Statc ot"i"cxas sufficient to establish generaljurisdiction over said Defendant.

7. Piaintiff wouid also show that the cause of action arose t`roin or relates to the
contacts ot` Dei`endant Ci§t\i'l`R/’\lJ to the State of 'i`exas, thereby conferring specific jurisdiction
with respect to this Defcndant.

8. Furthermore, Piaintit`f won id show that Dct`cndant CENTRAL engaged in
activities constituting business in the State ot`Tcxas as provided by Section l?.042 ofthe Texas
Civil Practices and Rernedies Code, in that said Dei`endant contracted with a 'l"exas resident and
performance of the agreement in whole or in part thereof was to occur in Tcxas, committed a tort
in whoie or in part in '|`exas, and recruits or has recruited Texas residents for employment inside
or outside the state.

I). VENUE

(). Vcnue is proper in Bexar County, 'l`cxas, because the insured property is situated

in Bexar County. Tcxas. Tex. Civ. Prac. & Rem. Code §15.032.
E. CONI)I”[`]ONS PRECEDENT

10. Ail conditions precedent to recovery have been performed tvaived, or have

 

 

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occurred
F. AGENCY AND RESPONDEA TSUPERIOR

l t. thnever in this petition it is alleged that CENTRAL did any act or omission, it
is meant that CENTRAL itself or its agents, ofticcrs, servants, cmp|oyces, or representatives did
such act or otnission, and it was done with the full authorization or ratification of CENTRAL or
done in the normal routinc, course and scope of the agency or employment of CENTRAL or its
agents, ofticcrs, servants, cinptoyees, or representatives

G. FACTS

l2. Plaintiff is the owner ot"i`exas lnsurance Poiicy No. 9 | 82383 (hereina{ier referred
to as “the Poiicy”), which was issued by Dcfendant CEN'!`RAL,

13. I’laintifi` owns the insured residential property specifically located at 21 14 tviannix
t)rive1 San Antonio. Texas 782|’,7 (hereinatier referred to as “the Property”).

l4. Dcfcndant CENTRAL sold the Poiicy insuring the Propcrty to Plaintiff.

15. {)n or about April 12, 20i6_, a severe hailstorm and/or windstorm struck Be.\'ar
County, Texas, causing severe damage to homes and businesses throughout the area, including
Plaintiff‘s Property (“the Stonn”). Speciftcally, Plaintill"s roof sustained extensive damage
during the Storm. Water intrusion through the roof caused extensive damage throughout the
interior of the Property including, but not limited to, the interior ceilings walls, and flooring ot`
the Propcrty. Plairitist Propcrty also sustained substantial exterior damage during the Storm.

16. Atier the Stcrtn, Plaintift` filed a claim (Claiin No. 9182383) with his insurance
company, Defendant CEN'I`RAL, for the damages to the Property caused byrne Storni.

l7. Plaintit"r` submitted a claim to Defendant CENTRAL against the f’olicy for Root`
l”)amagc1 Structural Daruage, Water Damage, and Windstornt and Hail Dainagc the Propert_v

sustained as a result ofthe Storin.

 

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l8. Piaintill` requested that Dct"endant CENTRAL cover the cost ol` repairs to the
Property pursuant to the Policy, including but not limited to: repair and/or replacement oi` the
roof and repair of the interior and exterior damages to the Property.

19. Del`endant CENTRAL assigned an adjuster to adjust this claitn. CEN'l`RAL’S
adjuster was improperly trained and Failed to perform a thorough investigation ot` Plaintif`t"s t'lail
and W ind Damage Property claim and intentionally, knowingly and deceptively, with malice, set
out to deny all or a portion ofthe Plaintit`t`s l-lail and Wind Damage Property claim by engaging
in l`alse, inis|eading, deceptive and fraudulent acts and practices of omission and commission
which ultimately resulted in l-’iaintii`f being denied the benciit ofthe bargain and loss payments
due under the terms and conditions of the Poiiey ol` insurance issued by CENTRAI_,.

20. CENTRAL’S adjuster's adjustment of the claim l`raudulently, wrongt`iilly,
deceptively and negligently denied the claim and undervalued the cost ot` repair andfor
replacement of covered items of damage to the insured Propcrty in the claim report, which
resulted in Piaintil`t` receiving insufficient hinds from CENTRAL to cover the losses sustained by
Plaintift` to repair and/or replace the insured Property damaged by the Storm, excluding the
amounts ol` the deductible and non-recoverable depreciation assessed pursuant to the terms and
conditions oi`the Poiicy i`or which Plaintit`f was responsible

2l. /\s a result thereol`, on or about April 3, 2017. or shortly tliercalter, Plaintit`f
received a claim check in the amount of $l l,863.46 l`rom Deiondant CENTRAL. which was
wholly insufficient to repair and/or replace the covered damages to the Propcrty resulting t`rom
the Storm. Plaintii`f‘s actual covered damage to the Property as a result ol` the Storm exceeded
the sum of $92,292.l7, which is continuing to increase each day that CENTRAL fails and
refuses to pay the Plaintifi’s claim due to increases in thc costs ol` labor and materials

22. Based upon information and beliel`, CENTRAL’S adjuster was compensated on a

 

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per-claim-adjusted basis and/or other combination of compensation tied to the quantity of claims
adjusted CENTRAL`S adjuster was therefore motivated to conduct an inadequate and
substandard claim investigation of Piaintiti`s Hail and Wind damage loss to Plaintiff`s Propeity
resulting from the Storm in order to increase the number of claims adjusted by him/her for
his!hcr personal pecuniary l)cncfit, as indicated below in sub~paragraphs (a) thru (g).
CfENTRAL’S adjuster was negligent in violating (‘.ENTRAL’S written policies as they relate to
claims handling practices by failing to fully investigate and document all damage to Plaiiitiff‘s
insured Property and by failing to fully investigate and evaluate the Plaintifl"s insured loss based
upon local replacement and/or repair costs for each item of dainage, as indicated below in sub»
paragraphs (a) thru (g). Additionally, based upon information and belief and the acts and
practices actually employed by CENTRAL’S adjuster, CEN'l`RAL’S adjuster held a personal
bias in favor of insurance companies and prejudice against insurance claimants generally, and
more specifically towards l’laintiff herein as specifically demonstrated below in snb-paragraphs
(a) thru tb). CENTRAL‘S adjuster, intentionally, knowingly and fraudulently, with nialice,
engaged in the following specified acts and practices, among others stated herein, in violation of
and in breach of the adjuster`s moral, ethical and legal duties to l’laintiil` as a licensed claims
adjuster, which was a producing and proximate cause of the damages and losses sustained herein
by Plaintiffresu|ting in the denial and/or underpayment ofPlaintifFS claim; to wit:
a) CENTRAL’S adjuster`s investigation and inspection for damages to the
Plaintift`s Property was performed in an insufficient time period to
perform an adequate assessment of the damage to the Propcrty resulting
from the Storm;
b) CENTRAL’S adjuster failed to and/or refused to properly interview

Plaintit`f to ascertain other damages that were not readily apparent or

 

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would not be readily apparent to an individual unfamiliar with the
Propeity in its pre~Storm condition;

c) CENTRAL’S adjuster refused to and did not inspect for hidden or latent
damage resulting to P|aintift‘s Property that is customarily found to exist
on property that has gone through a hail and wind storm of the severity of
that which occurred in Bexar County on April 12, 2016;

d) CENTRAL’S adjuster failed and refused to include the usual and
customary charges for costs of niaterials, supplies. labor and eontractor’s
overhead and profit charged by contractors in the Be)tar Couuty area for
the rcpair, replacement and restoration of the Plaintiff‘s Property damaged
by the Storm;

e) CEN'l`RAL’S adjuster performed only a cursory inspection ofthe roof and
exterior, and interior of the insured Property; and failed to assess, estimate
and include all covered damage to the Property in the report and
adjustment of loss to CENTRAL for exterior and interior water damages
and/or note other damages existing to the Property at the time of
inspection such as ceilings and walls that were sustained as a result of the
Storni;

l) CENTRAL’S adjuster, during hisfher investigation of the Plaintift‘s elairn,
failed to include all damages sustained to the Property by the Stonn, thus
submitting an inaccurate and false report of Plaintitl`s covered Storm
Properly losses to CENTRAL;

g) CENTRAL’S adjuster fraudulently represented to Plaintif f verbally and by

conduet, in preparing an inadequate, incomplete and undervalued estimate

 

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oi` the cost oi` replacement and/or repair o|` Storm damage to Plaintifi`s
Property, that the majority oFthe damages to the Property were not severe
or Storm related; and that most, if not all, of the covered damages found to
exist upon observation of Plaintit`t’s Property, were not covered by the
Policy, but were due to normal wear and tear or the result oi`other causes,
when in fact such damage was Storm related and should have been
included in CE.NTRAL’S adjuster’s report to CENTRAL.

23. Dct`endant CENTRAL failed to thoroughly review the l`raudu lent and inaccurate
assessment of the claim by its adjuster, and ultimately approved its adjuster‘s inaccurate report ol`
the damages to the Property.

24. The mishandling ofPlaintili‘s claim has also caused a delay in the ability to fully
repair the Property, which has resulted in additional damagesl To date, Plaintiff has yet to receive
the i`ull payment to which he is entitled under the Policy and has not been able to fully repair or
replace the damage to the insured Property.

25. CENTRAL, in hiring adjusters and claims representatives was responsible to and
bad a legal duty to ensure that they hired and retained competent, qualified and ethical licensed
adjusters and claims representatives who would deal fairly, honestly and in good t`aith with the
policy holders of CENTRAL in the practice of insurance claims handiing. CENTRAL breached
such duties in connection with Plaintii`t`s Property Dannage claim resulting from the Storm by
failing to properly train, direct and oversee the claims handling practices employed by its
adjuster.

26. At ali times material herein, CENTRAL had a non-delegable contractual legal
duty to timely, fairly and in good faith fully investigate process, adjust, timely pay and re-adjust

claims for all covered losses sustained by its policy holders as a result of the Storm, including

 

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Plaintilf. CEN'l`RAL represented that it would do so in advertising mediums throughout the State
of Texas and specifically in writing to its policy holders as an inducement For them to purchase
and continue to renew homeowners and business property insurance with CEN'i`RAL. Due to a
lack ot` knowledge and understanding of the insurance claims handling process, knowledge of
construction costs and insurance policy coverage issues relating to storm related property losses.
Plaintii`l relied on such representations to his detriment, purchased the Policy i`rom CENTRAL
and accepted the estimate ot" damages from its adjuster which, unknown to Plaintil`t`, included
denial and underpayment of covered losses and damages sustained in the Storm. CENTRAL
made such representations knowing they were false and with the intent that l)laintift` relies on
such representations CENTRAL, having breached its legal duty to timely, fairly and in good
laith investigate process, adjust and pay for ali covered losses sustained by Plaintit`t` herein, is
responsible for the acts of omission and commission set forth herein and above in connection
with its adjuster’s investigation and claims handling practices employed to deny and/or underpay
the covered losses and damages sustained by Plaintii`f as a result of the Storm.

27. CENTRAL distributed training, educational, and instructional materials to the
tield claim representatives and adjusters; held meetings and issued directives to the field
instructing how CENTRAL wanted the hall losses like Plaintifi"s to be handled CEN'i`R/-\L
communicated and disseminated claims handling practices and methodologies to its field
adjusters ot` i) “Quantity over Quality", 2) Minimization of damage estimates, 3) Under-
valuation oi` reported replacement and/or repair estimates, and 4) Omission of probable covered
damages in the report to thc Propcrty from the Storm. 'l"hese policies served to fuel and motivate
CENTRAL’S adjuster’s individual pre-disposition of bias in favor ot` insurance companies and
prejudice towards claimants and the resulting losses sustained by Plaintiif as set forth hcrein,

28. CENTRAL and its adjuster conducted a substandard and incomplete inspection ot`

 

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Plaintii`t`s l’roperty. Plaintifl’s damages were noted in an inaccurate report and/or estimate of
Plaintifi`s Storm damages, which failed to include many of the damages noted upon inspection
and grossly underestimated and undervalued those damages that were included.

29. Defendant CEN'fRAL failed to thoroughly review the assessment of the claim by
its adjuster and ultimately approved its adjuster's inaccurate report of the damages /\s a rcsult,
Piaintifi` was denied payment on his claim and has suffered damagesl

30. CEN'I`RAL set out to deny and/or underpay properly covered damages As a
result ol`CEN'l`RAL’S unreasonable investigation, including their under-scoping and incomplete
inspection of Plaintit`i`s Storm damages during their investigation(s) and failure to provide full
coverage for the damages sustained by l’laintifl`, Plalntiff`s claim was improperly adjusted, and
Plaintil`f was denied adequate and sufficient payment to repair the i’roperty and has suffered
damages

31. CENTRAL’S adjuster intentionally, knowingly and as directed by CENTRAL,
conducted a substandard investigation of Plaintifi‘s claim with the intent to underpay or deny all
or a portion ol` the claim for the benefit of CENTRAL, which resulted in losses and damages to
Plaintifl’s l’roperty. 'l`his practice of wrongfully denying and/or underpaying claims of
CENTRAL policy holders for covered losses sustained by them in the Storm by refusing to fully
inspect the Property for damage, misrepresenting coverage, the scope of coverage and loss,
under-estimating repair costs, denying claims for covered losses underpaying covered losses ol`
its insured policy holders, was specifically employed by CENTRAL and its adjuster in
connection with the handling of the claim for damages and losses sustained by Plaintiff as a
result ofthe Storm.

32. CENTRAL’S adjuster engaged in a claims processing handling practice designed

by CEN'l`RAL to reduce the overall loss payments CENTRAL was obligated contractually to

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pay policyholders as a whole in the Bexar County area for the covered losses resulting from the
Storm. CENTRAL directed its adjusters and claim representatives to misrepresent coverage, the
scope of coverage and loss, under-estimate repair costs, deny claims for covered losses, underpay
covered losses of its insured policy holders, refuse to inspect portions of the properties damaged,
and ciaini that damage to the property found to exist was due to normal wear and tear or was the
result of other causes that pre"cxisted the Storm as a basis for not including those damages in the
report. l’laintil`t`s ciaim, as demonstrated herein, is typical of the deceptive acts and practices and
unfair claims settlement practices intentionally and knowingly employed by CENTRAL and its
adjuster in connection with the handling ofPlaintift"s claiin.

33. As detailed in the paragraphs bciow, Del`endant CENTRAL wrongfully denied
Plaintift`s claim for repairs ofthe l’roperty, even though the l>olicy provided coverage for losses
such as those suffered by Plaintiff. Furthermore, CENTRAL, underpaid some ot`the Plaintiff’s
claims by not providing lirll coverage for the damages sustained by Plaintiff, as well as under-
seoping the damages during its investigation

34. ’l`o date, CENTRAL continues to delay in the payment for the damages to the
Propcrty. As such, Plaintift` has not been paid in full for the damages to his Propcrty.

35. CEN’I`RAL failed to perform its contractual duties to adequately compensate
t’|aintiff under the terms ofthc Poiic-y. Specifically, it refused to pay the full proceeds of the
Poliey, although due demand was made for proceeds to be paid in an amount sufficient to cover
the damaged l’roperty, and all conditions precedent to recovery upon the Policy had been carried
out and accomplished by Plaintiff. CENTRAL`S conduct constitutes a breach of thc insurance
contract between CENTRAL and Piaintiff.

36. CENTRAL misrepresented to Plaintifi` that the damage to the Propeny was not

covered under the Policy,‘even though the damage was caused by a covered occurrencel

 

 

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CENTRAL’S conduct constitutes a violation of the 'fexas Insurance Code, Unfair Settlcment
i’ractices. TEX. [NS. CODE §§54i.060(a)( l).

37. CENTRAL failed to make an attempt to settle Plaintifi’s claim in a fair manner,
although they were aware of their liability to Plaintiti" under the Policy. CENTRA[,`S conduct
constitutes a violation of the 'l`cxas insurance Code, Unfair Settlemcnt Practices. TE,X. iNS.
CODE §541.060(a)(2)(A).

38. CEN'i`RAL failed to explain to Plaintiff the reasons for their offer of an
inadequate settlementl Speciiical|y, CENTRAL failed to offer Plaintiff adequate compensation
without any explanation why full payment was not being made. Furthermore, CENTRAL did not
communicate that any future settlements ofpaymcnts would be forthcoming to pay for the entire
losses covered under the Policy, nor did they provide any explanation for the failure to
adequately settle Plaintiff`s claitn. CENTRAL’S conduct is a violation ofthe 'l`exas insurance
Code, Unfair Setttement Practices, TEX. INS. CODE §54i .060(a)(3).

39. CEN'E`RAL failed to affirm or deny coverage of Plaintiti`s claim within a
reasonable time. Speciiically, l’iaintiti` did not receive timely indication of acceptance or
rejection, regarding the full and entire eiaitn, in writing from CENTRAI_.. CENTRAL’S conduct
constitutes a violation of the Texas lnsurance Code, Unfair Settlement Practices. TEX. lNS.
CODF, §§4{.060(a)(4).

40. CENTRAL refused to fully compensate Plaintiff under the terms of the Policy,
even though CENTRAL failed to conduct a reasonable investigation Specilically, CENTRAL
performed an incomplete and outcome-oriented investigation of Plaintiff’s claim, which resulted
in a biased, unfair, and inequitable evaluation of Plaintift’s losses on the Property. CENTRAL’S
conduct constitutes a violation of the Texas lnsurance Code, Unfair Settlement Practices. TEX.

th. Conn §er 1 .ese(a)(n.

 

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4!. CENTRAL failed to meet its obligations under the 'i`exas insurance Code
regarding timely acknowledging Plaintil`f’s claiml beginning an investigation ot`Plaintil`l`s elaim,
and requesting all information reasonably necessary to investigate I’laintil`t"s claim, within the
statutorily mandated time of receiving notice ot’ Plaintift’s claim. CENTRAL’S conduct
constitutes a violation of the Texas lnsurance Code, Prompt Paytncnt of Claims. 'I`EX. lNS.
CODE §542.055.

42. CENTRAL failed to accept or deny l‘laintitf‘s full and entire claim within the
statutorily mandated time of receiving all necessary information CENTR/-\L’S conduct
constitutes a violation of the Texas Insttrance Code, t’rompt l)ayment ot` Claims, TEX. lNS.
CODE §542.056.

43. CENTRAL failed to meet its obligations under the Texas insurance Code
regarding payment of claim without delay. Speciticaily, it has delayed full payment ot`Plaintifl’s
claim longer than allowed and, to date, Plaintifl" has not received full payment for the elaim.
CEN'I`RAL’S conduct constitutes a violation of the 'l`exas insurance Code, Prompt Payment ol`
Ciaims. TEX. lNS. CODE §542.058.

44. From and alter the time Plaintift‘s claim was presented to CENTRAL, the
liability ot` CENTRAL to pay the l`ull claim in accordance with the terms of the Policy was
reasonably clear. However, CENTRAL has refused to pay Plaintiti` in full despite there being no
basis whatsoever on which a reasonable insurance company would have relied to deny the full
payment CENTRAL’S conduct constitutes a breach oi` the common law doty of good faith and
l`air dealing.

45. CENTRAL knowingly or recklessly made false representations1 as described
above, as to material facts and/or knowingly concealed all or part otn'taterial information t`rom

Plaintift`.

 

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46. As a result of CENTRAL wrongful acts and omissions, Plaintiff was forced to
retain the professional services of the attorney and law firm who is representing him with respect
to these causes of uction.

H. CAUSES OF AC'I`lON

47. Plaintiff repleads all oftlte material allegations above set forth in Paragraphs 1-46
and incorporates the same herein by this reference as if here set forth in fu|l.

48. Defendant CENTRAL is liable to Plaintiff for intentional breach ofcontract, as
well as intentional violations of the Texas insurance Code, and intentional breach of the common
law duty of good faith and fair dealing

BREACH OF CONTRACT

49. Plaintiffrepleads all oftite material allegations above set forth in Paragraphs 1-48
and incorporates the same herein by this reference as if here set forth in full.

50. Defcndant CENTRAL’S conduct constitutes a breach of the insurance contract
made between CENTRAL and Plaintifl`.

51, Defendant CENTRAL’S failure and/or refusal, as described above, to pay the
adequate compensation as it is obligated to do under the terms of the Poliey in question, and
under the laws of the State of Texas, constitutes a breach of CENTRAL’S insurance contract
with Plaintiff.

NONCOMPLIANCE WITH 'I`EXAS INSURANCE CODE:
UNFAlR SE'I`TLEMENT PRACTICES

52. Plaintiffrepleads all ofthe material allegations above set forth in Paragraphs l-$i
and incorporates the same herein by this reference as if here set forth in full.
53. Defendant CENTRAL’S conduct constitutes multiple violations of the Tcxas

insurance Code, Unlair Settlemcnt Practices. 'fEX. lNS. CODE §541.060(a). All violations

 

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under this article are made actionable by TEX. iNS. C()DE §541.151.

54. Defendant C[£NTRAL’S unfair settlement practiee, as described above, of
misrepresenting to Piaintiff materiai facts relating to the coverage at issue, constitutes an unfair
l method of compensation and an unfair and deceptive act or practice in the business of insurance
Tnx. th. CODE §541.060(3)(1).

55. Defendant CENTRAL`S unfair settlement practice, as described abovc, of failing
to attempt in good faith to effectuate a protnpt, fair, and equitable settlement ofthc claim, even
though CENTRAL’S liability under the Policy was reasonably ciear, constitutes an unfair
method of competition and an unfair and deceptive act or practice in the business of insurance
TEX, lNS. CODE §541.060(a)(2)(A).

56. Dei`endant CENTRAL’S unfair settlement practice, as described above, of failing
to promptly provide Piaintiff with a reasonable explanation of the basis in the Policy, in relation
to thc facts or applicable law, for its offer of a compromise settiemcnt of the claim, constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business of
insurance 'i`EX. iNS. CODE §541.060(a)(3).

5')'. Defendant CENTRAL’S unfair settlement practice, as described abovc, of failing
within a reasonabie time to affirm or deny coverage of the claim to Piaintift`, or to submit a
reservation oi`rigltts to Piaintiff, constitutes an unfair method of competition and an unfair and
deceptive act or practice in the business ofinsurancc. TEX. li\lS. CODE §§41.060(;1)(4).

53. Dcfendant CENTRAL’S tmfair settiement practice, as described ai)ove, of
refusing to pay Plaintiff’s claim without conducting a reasonable investigation, constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business of

insurance TEX, iNS. CODE §541.060(A)(?).

 

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NONCOMPLIANCE WI'I`H TEXAS INSURANCE CODE:
'I`HE PROMPT PAYMENT (}F CLAIMS

59. Piaintiii` repieads all oftiie material allegations above set forth in Paragrapiis l-SS
and incorporates the same herein by this reference as it` here set forth in iiil|.

60. Dci`endant CENTRAL’S conduct constitutes multiple violations oi` the Texas
lnsurancc Code, Prompt Payment ot`Claitns. All violations made under this article are made
actionable by TEX. lNS. CODE §542.069.

61. Det`endant CENTRAL’S t`aitnre to acknowledge receipt of Plaintii`l“s claim,
commence investigation of the claim, and request i`roni l’laintil`t` all items, statetnents, and forms
that it reasonably believed would be required within the applicable time eonstraints, as described
above, constitutes a non-prompt payment of claims and a violation of TEX. lNS. CODE
§542.055.

62. Dcl`endant CENTRAL’S failure to notily Piaintil`f in writing of its acceptance or
rejection ol`the claim within the applicable time constraints, constitutes a non-prompt payment ot`
the claim. TEX. INS. CODE §542.056.

63. Defeiidatit CENTRAL’S delay ol` the payment of Plaintii`t"s claim following its
receipt of all itelns, statements, and forms reasonably requested and required, longer than the
amount ol`time provided for, as described above, constitutes a non-prompt payment of the claim.
TEX. lNS. C()DF, §542.058.

RESPONSIBILITY FOR ACTS OF AGENTS AND RATIFICATION OF ACTS

64. CEN'i`RAL’S ndjtlster, whose conduct is referenced herein and above, is an agent
of CENTRAL based upon hisr‘her acts of commission and omission in the handling oi` Plaintii`f’s
elaiin, including inspections, adjustments and aiding in the adjustment of the loss l`or or on

beliall`ol’the insurer. 'l`BX. INS. CODE §400|.95!.

 

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65. Separately, and/or in the ailernativc, as referenced and described above,
CEN'l`RAL ratified the actions and conduct of its adjuster including the manner in which lie/she
discharged or failed to properly discharge his/her duties under the common law and applicable
statutory laws and regulations

BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

66. Plaintift"repleads all of the material allegations above set forth in Paragraphs l-ti:‘)
and incorporates the same herein by this reference as if here set forth in full.

67. Defendant CENTRAL’S conduct constitutes a breach ofthe common law duty of
good faith and fair dealing owed to insured in insurance contracts

68. Dct`cndant CENTRAL’S failure, as described above, to adequately and reasonably
investigate and evaluate Plaintift`s claim, although, at that tlnie, CEN'I`RAL knew or should have
known by the exercise of reasonable diligence that its liability was reasonably clear, constitutes a
breach of the duty of good t`aith and fair dealing

FRAUD

69. P|aintii`f repleads all of the material allegations above set forth in Paragraphs i-68
and incorporates the same herein by this reference as it` here set forth in full.

?0. Plaintif|"is not making any claims for reliet`under federal law.

'f'l. CENTRAL is liable to Plaintift" for common law fraud

72, CENTRAL represented in its Policy that covered Hail and Vv' ind Damages would
be insured against loss. Plaintii`t`, to his detriment, purchased CENTRAI_,’S policy in exchange
for a benefit CEN"I`RAL knew Plaintitf would not receive. Plaintili" further relied to his detriment
upon the l`alse, fraudulent and deceptive acts and practices employed by CENTRAL, in
performing an inspection, investigation and evaluation of Plaintiff’s Storm damages Plaintilt` is

not knowledgeable in the manner and scope required to investigate a storm related loss, nor

 

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knowledgeable in insurance loss coverage lssues. CENTRAL, based upon their experience,
special knowledge ot`storm-related structural loss issues and insurance coverage issues were able
to deceive Plaintift` into believing that the property damage loss would be competently
investigated by a otialiiied, ethical and experienced adjuster and that the loss would be properly,
fairly and in good faith evaluated and assessed and the claim paid. i’lainliff was unaware that all
such representations and conduct relating to the investigation and handling of the claim were
performed with the intent and purpose to defraud, take advantage of and deny and/or undervaiuc
the Property losses sustained by Plaintiff. Piaintii`f relied to his detriment on such actions and
representations resulting in the losses and damages complained of herein. Plaintift` has been
unable to repair the Storm damages and/or make temporary repairs using Plaintiti`s own limited
funds, prolonging Plttintifl’s hardship of living in a Storm-damaged home. CENTRAL knew at
the time the above misrepresentations and fraudulent conduct occurred that the representations
contained in the estimate of loss and communicated to Plaintilf were false. Each and every one
of the representations and deceptive acts and practices, as described above, and those stated in
this paragraph, concertth representations and falsehoods concerning material facts for the reason
that absent such representations l’laintift` would not have acted as he did, and which CENTRAL
knew were false or made recklessly without any knowledge ot`their truth as a positive assertion.

73. 'i`he statements were made with the intention that they should be acted and relied
upon by i’laintiff, who in turn acted in reliance upon such statements and actions, thereby
causing P|aintift` to suffer injury and constitute common law l"rand.

I. KNOWLEDGE

74. Each of the acts described above, together and singularly, was done “knowingly,"

as that term is used in the Texas insurance Code, and was a producing cause of Plaintift’s

damages described herein.

 

l’laintil`l`s Origin:ll Pctitiott Page 17

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J. DAMAGES

?5. Plaintiff would shortr that all ot` the aforementioned aets, taken together or
singularly, constitute the producing causes of the damages snstained by Plaintift`.

76. As previously mentioned, the damages caused by the Apri| 12, 20l6 hailstorm
andfor windstorm have not been property addressed or repaired in the months since the Storrn,
causing t`urther damages to the Property, and causing undue hardship and burden to Plaintiff.
Thcsc damages arc a direct result ot`CEN'i`R/\L'S mishandiing of Piaintii`f‘s claim in violation
of the laws set forth above.

77, For breach oi` contraet, P|aintit`l` is entitled to regain the benefit ot` his bargain,
which is the amount ol` his ciaim, together with attorney’s fees

78. For noncompliance with the 'l`exas insurance Code, Unt“air Settlement Practices,
Plaintit`t` is entitled to actual damages which include the loss of the benefits that should have
been paid pursuant to the Poiicy, mentai anguish, court costs, and attorney‘s fees. For knowing
conduct of the acts described above, Plaintift` asks for three times his actual damages TEX. lNS.
CODE §541.152,

79. P`or noncompliance with tire 'l`exas Insuranee Code, Prompt Payment of Ciaims,
Plaintil`t` is entitled to the amount ot` his c|aim, as well as eighteen (lS) percent interest per annum
on the amount of such claim as damages, together with attorney`s fccs. 'l`EX. INS. CODE
§542.060.

80. For breach ol` the common law duty of good faith and fair dealing, Pialntit`t` is
entitled to compensatory damages, including all forms of loss resulting from the insurer’s breach
ol`duty, such as additional eosts, economic hardship, losses due to nonpayment of the amount the
insurer owed, exemplary damages, and damages t`or emotional distress

81. For l"r'and, Piaintiff is entitled to recover actual damages and exemplary damages

 

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t`or knowingly fraudulent and malicious representations along with attorney’s fccs, intercst, and
court costs.

82. For the prosecution and collection of this claim, Plaintitl` has been compelled to
engage the services ot` the attorney whose name is subscribed to this pleadingl Therefore,
Plaintitf is entitled to recover a sum i`or the reasonable and necessary services of Plalntll`t"s
attorney in the preparation and trial of this action, including any appeals to the Court of Appeals
and/or the Supreme Court of Texas.

K. STATEMENT OF RELIEF AND DAMAGES

83. As required by Rule 47(b), Tcxas Rules of Civil Procedure, Piaintit`l`s counsel
states that the damages sought are in an amount within the jurisdictional limits ot`this Court. As
required by Rule 47(e), 'l`exas Rules ol` Civil l’rocedure, Piaintit`t’s counsel states that Plaintiff
seeks monetary reliel`, the maximum ot` which is over $100,000 but not more than $200,000. A
jury, however, will ultimately determine the amount of monetary relief actually awarded
Plaintill` also seeks pre-judgment and post~judgment interest at thc highest legal ratc.

L. RESERVATI()N OF RIGHTS

84. Plaintift` reserves the right to prove the amount of damages at trial. Plaintit`t`
reserves the right to amend his petition to add additional counts upon further discovery and as his
investigation continues

M. JURY DEMAND

85. Plaintitl` hereby requests that all causes ol` action alleged herein be tried before a
jury consisting of citizens residing in Bexar County, 'l`exas. Plaintit`f` hereby tenders the
appropriate jury fee.

N. DISCOVERY

36. Written Discovery in this case is governed by the following Order:

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a. Standing Pretrial Order Conecrning Bexar County Residential l-iail C.laims.
0. PRAYER
WHEREFORE, PREMISES C()NSIDERED, Plaintiff prays that upon trial liereof,
said P|aintiff have and recover such sum as would reasonably and justly compensate him in
accordance with the rules of law and procedure, as to actual datnages, treble damages under the
'l`e.\'as insurance Code, and all punitive and exemplary damages as may be found. in addition,
Plaintilf requests the award ol`attorney’s fees for the trial and any appeal of this case, for all
costs ol`Couit on their behalf expended, for pre-judgment and post-judgment interest as allowed

by iaw, and for any other and further reliel`, either at law or in equity.

Respcctfully submitted,

PHtPPs, LLP

THE PuiPPs

102 9“‘ Street

San Antonio, Tcxas 782£5
'i`elephone: (2l O) 340-9377
Telecopier: (2 lt)) 340-9887
Emaii: gortiz@phippsllp.com
Emai|: rsoiiz@phippsl|p.com

By: fs/ J. Gabrie| Ortiz
MARTIN j. PHIPPS
State Bai‘ No. 0079l444
l. GABRIEL ORTIZ
State Bar No. 240355 l 2

AT'I`ORNEYS F()R PLAINTIFF

 

I’iaintit`t`s Oziginal Petition Pagc 20

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IN RE: ]N 'I`HE DIS'I`R!CT COURT OF

BEXAR H A l L

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nasloENTrAL § -
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CI,AIM LITIGATION ClVlL .IUDlClAL DISTRICT C{)URTS
STANDING PRETRIAL ORUER CONCERN!NG
BEXAR CUUNTY RESIDENTIAL HA]L CLA!MS

This order applies to pretrial matters in residential property insurance cases filed in the District Courts of
char County, 'l`cxus that involve insurance disputes arising from tile hail stonns occurring in Bc>tar
Connty in April and May ot` 201 6. The purpose of this order is to expedite pretrial matters, discovery and
mediation in order to minimize court costs and litigation expenses

Ttris order shall bc posted on the Be>tar Ccunty District Clcrk \vcbsite and shall be attached to the '

Original Pctition of applicable cases z'til attorneys and parties should endeavor to notify others about this
ordcr. z

Parties seeking to he excused from any part ofthis order must set a hearing and request relief from the
eottrl. i

AU'I`OMA'I`IC ABATEMENT - The filing of an original answer by the residential insurance carrier

shall trigger an immediate and automatic abatement The case shall remain abated until 30 days alter a
mediation impasst:.

'l'hc abatement period will apply to all court ordered deadlines and Ru|c t9t) discovery deadlines 't`|ie
abatement period will not apply to the deadlines in this order or to any statutory dcadline, interest or
penalties that may apply under any statutory code or law. ’l`he parties may send written discovery durini*.,r
tire abatement time pcriod. howevcr, the responses and objections to those discovery requests will not lie
due until 30 days after the end of the abatement period

MED¥ATION ~ Thc parties shall agree to a mediator and to a mediation datc. An Agreed Mcdiinion
Ordcr, in the form attached, shall be filed with the court within 100 days alter thc answer is lilcd.

Within l$ days of an unsuccessful mediation the parties will submit a proposed Agreed Scheduiing
Ordcr to the court'. v

DISCOVERY - Within 60 days of the filing of an answer by the residential insurance earricr, the parties
will usc their best efforts to exchange information and documentation pertaining to the residence
including the foiloi.ving: expert rcports, engineering reports. estimates of damage or repairs; contents lists
for contents damage claim(s); plictographs; repair receipts or invoices; the non~privilegcd portions of the
residential insurance carrier and adjusting company's claims tile (including all claim diary notes, activity
logs, loss notes and entail correspondence regarding the insurance claiin); payment lcdger, payment log
and/or proof of payment front the insurance cnrricr; a copy of the insurance policy in effect at the titnc of

_the respective storm claim(s); and the non-privileged portions of the underwriting tile. if the insurance

carrier is not in possession cf 'thc adjusting company's/adjuster‘s claims i"ile, and the adjusting
cotnpanyladjuster is not named as a party in thc lawsuit and represented by separate counsel, then thc

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insurance carrier shall seek the adjusting company‘s claims tile and use their best efforts to exchange this
information within the 60 day lime period. 'l"hc insurance carrier is also ordered to notify the independent
adjusting company that all cmails, activity notes and loss diary notes pertaining to the hall storm claim in
litigation shall be preserved and not destroyed Final|y. a privilege log will also be produced in
accordance with the 'l`c>tas Rrrlcs or` Civi| Proccdnrc for any redactions or privileges asserted

/\ny expert reports, engineering reports, contractor estimates or any other estimates of damages or repairs
obtained pursuant to this order for settlemenl, demand, or mediation purposes and exchanged prior to
mediation shall be for mediation purposes only and shall be considered conliderttia|, except that any
estimates and/or reports that are part of` the claims file, which were obtained or prepared during the claims
handling shall not be considered confidential under this paragraph l-lowevcr. li` a consultant. whose
report is produced for mcdiation, is designated as a retained testifying expert and does not produce a
subsequent report for usc at trial, the mediation report shall not remain coni'rdentiul.

Confidcntia| reports and estimates are only confidential l`or the lawsuit in which they are being uscd.
Conl”rdcntia| expert reports designated for mediation purposes shall be returned to the providing party
within 14 days of a written request Such reports shall not be discoverable or admissible at trial or any
hearing lt` the party procuring the report designates the expert to testify, such party shall have the right to
prevent discovery or testimony by the expert regarding the mediation report and any opinions therein,
provided that a subsequent report is produced Thc procuring party may usc data such as measurements
and photographs without waiving this privilege Nothing herein shall prohibit the usc ot`those reports

and estimates in any subsequent insurance claims or lawsuits involving the same residential
insurance carricr.

Oncc a mediation date and mediator arc agreed to by all partics, the residential insurance carrier shall
be permitted to inspect the residence involved in the lawsuit (as soon as practicab|c) prior to
mediation lt mediation is unsuccessful, the residential insurance carrier and other defendants may

re-inspect the residence with the same, new or additional experts pursuant to the Texas Rules ot'
Civil Prt)cedure.

Signed on Novcmber 30, 2016

  
   

 
   

 

 

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3?"' i.`}istrict Court 45'*‘ District Courl
Antonia Aricaga, lodge David A. Canalcs, Judgc
57"‘ casino court 73“ pinner court

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.|ohn D. Gabric
131“ District

 

, Jr., Judge

 

 

 

Pc!er Sakai lodge
225'}‘ D1stnct Court

    
 

 

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asseb ,Judge

288°' District Court

 

 

     
   
   

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Cath!een Slryker,.}
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’“:';:h:a§d Price, Judgc
285°" Dislrict Court

' §ozza, . "
407"* Disrricc Coun

Gloria Saldaria, Judge
438”’ DismctCou.rz

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AGREED MEDIAT|ON ORDER

Pursunnt to the Standing Pretria| Order Coneerning Bc)tar County Residential Hail Claims. the
parties agree to the following mediation date end mediator:

[)ate:

 

Mediator:

 

'l`he eotnt, hereby, approves and orders the above date and mediator as agreed by the parties.

Eaeh side sitn|t pay an equal portion ofthe mediation fec.

Al| parties must have in attendance a representative with l`u|l authority to enter into a final settlement

agreementl 't.l1e following shall be personally in attendance at the mediation until excused by the
mediator.'

. |. An attorney of record for each party, unless the party is sell`-representedl

2. All individual parties, either plaintitl` or defendant, except that individual defendant
adjusters and insurer employee defendants are not ordered to attend so long as a
representative with full authority to negotiate and settle on their behalt`is present.

3. A representative of each non~individual pany, unless the parties agree otherwise in
writing.
Signed and entered on , 2016.

 

 

Judgc Presiding

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_F'ase Number: 2017-€|-16?66 2°"‘:“6?66 5@”°‘“
ANTHONY KOCt-t
vs. tt\t THE DtSTRtCT COUR?
288th JUDtCtAL DtSTR|CT
cEnTRAr_ MuruAL lnsuRAncE eoMPAnv BEXAR COUNTY, TEXAS
ittota Allacted dc~;ument may contain additional !,tigants)` C |TATlON
"THE STATE OF TEXAS"

~ `\"{ " CENTRAL MUTUAL INSURANCE COMPANY

 

BY SERV|NG lTS REG|STERED zthGEl\tTl CORPORATE CREATlONS NETWORK
2425 W LOOP SOUTH 200
HOUSTON TX 77027

"‘r’ou have been sued Yeu may employ an attomay. tt you or your attorney do not file a written ansi-ret with the ctert< who issued this citation by
10:00 a.m. on the titonday next tottowing the expiration of twenty days attar you were served this CtTATtON and ORthN/-`\L PETiTtOt\t , a dotautt
judgment may be taken against yon.‘ San CtTATtON with ORIGINAL PETtTtON was filed on the 3tst day ot August, 20 t ?.

|SSUED UNDER tle HAND AND SEAL OF SA|D COURT ON TH|S 13TH DAY OF September A.D‘, 2017.

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A'TTT)RNEVFE)?PWNTIFF
r02 eni sr

san nuronro, ix refers-1524

Donna t{ay MSKinney
Bexar County Distr‘ict C]erk
101 W. Ntlova, Suite 217
San Antom'o, Texas 78205

 

 

 

By: FEd:grrrr garar`a, Ueputy

 

AtthlONY KOCH ‘ t Case Nurnher: 2017-01-15766
vs Omcars Retum Court:££t$th Judiciai Distr“lct Court
CEttTRAL HUTUAL IHSURAHCE COHPANY

Came to hand on the 13th day ot Septemt)er 2017, A.D., at ?:112 o'ctecit A.M. and EXECUTED (NOT EXECUTED) by CERT|F|ED tvtAtL, on the
day of 20_%*, by doitvering to: ih at 2425 W LOOP SOUTH 200
itOUSTOt\t TX 7702? a true copy ot this Citatton, upon which t endorsed that date of delivery together with the accompanying copy ot the
CtTATtON with ORIG|NAL PETtT|ON .

 

Cause ot failure to execute this Citatton is

 

Donna Kay M§Kinney

Cterk ofthc District Courts of
Bexar Count_\,', 'I`X

By: father garcr`a, Depu ty

ORIGIHAL (OKOGS)

 

